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                                         August 13, 2019

 VIA ECF

 Hon. Steven C. Mannion, USMJ
 United States District Court
 for the District of New Jersey
 50 Walnut Street
 Newark, New Jersey 07101

        Re:    USA ex rel. Armstrong v. Andover, et al.
               Civil Action No. 12-3319-SDW-SCM

 Dear Judge Mannion:

         This firm represents Defendants Andover Subacute & Rehab Center Services One, Inc.,
 Andover Subacute & Rehab Center Services Two, Inc., and the Estate of Dr. Hooshang Kipiani
 (collectively, the “Andover Defendants”), in the above-referenced qui tam action. Telephonic
 argument on Relator Kenneth Armstrong’s Motion to Compel the Andover Defendants to answer
 interrogatories is scheduled for tomorrow, August 14, 2019 at 3:30 pm.

        Due to ongoing health issues, Plaintiff’s counsel will not be able to participate in this
 argument tomorrow. Therefore, on Plaintiff counsel’s behalf, undersigned counsel respectfully
 request that argument be adjourned to August 28, 2019.

        All counsel of record have consented to this request.

                                             Respectfully yours,


                                             Mark A. Berman

 cc:    All Counsel of Record (via ECCF)
